3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-4   Page 1 of 5




                           EXHIBIT 4
     3:21-cv-00278-RBH         Date Filed 01/28/21      Entry Number 1-4        Page 2 of 5




                            CONFIDENTIALITY AGREEMENT

       I, __________________________, hereby agree to be bound by the following

Confidentiality Agreement, and fully understand that my participation into the review of the South

Carolina Department of Corrections’ (SCDC) execution protocols mandates that I hold

information I receive and/or become party to in the strictest of confidences, and therefore I

willingly agree to the following as a Reviewing Party to such information:

                                             Recitals

       1.      I, ____________________________, understand that the purpose of the review of

the SCDC execution protocols is to gather sufficient information so I will be able to properly

advise Richard Bernard Moore as he contemplates his decision on electing the method of execution

to be used for his scheduled execution.

       2.      I recognize and acknowledge that SCDC has voiced security concerns relating to

the dissemination of the information contained in the SCDC execution protocols, and that SCDC

is willing to make a limited disclosure of said protocols to me, in order for me, as a member of

Richard Bernard Moore’s legal defense team, to accomplish the purposes set forth in paragraph 1

above. I, ________________________________, understand and agree that I am being provided

access to this sensitive information by SCDC, for the sole purpose of advising Richard Bernard

Moore with regards to his election of execution method, and agree to hold the information I receive

confidential and to only use said information to accomplish the purpose of advising Richard

Bernard Moore on his election of method of execution, which I understand must be made by

November 20, 2020.

       4.      As a result, I, _______________________, willingly and voluntarily agree to the

following terms and conditions.



                                                1
     3:21-cv-00278-RBH          Date Filed 01/28/21      Entry Number 1-4        Page 3 of 5




                                       Terms of Disclosure

       1.      Scope.

       All documents and/or other information, whether written, recorded, oral, or in electronic

form, received and/or considered during the review of SCDC’s execution protocols (hereinafter

referred to as “Confidential Information”) is deemed to be confidential and shall be subject to this

Agreement.

       2.      Protection of Confidential Information.

       a. General Protections. Confidential Information shall not be used or disclosed by the

Receiving Parties or any other persons identified below for any purposes whatsoever other than

advising Richard Bernard Moore as he makes his election of execution method.

       b. Limited Third Party Disclosures. The Receiving Parties shall not disclose or permit

the disclosure of any Confidential Information under the terms of this Agreement to any other

person except to Richard Bernard Moore and/or other members of his legal defense team, and only

for the purpose of advising Richard Bernard Moore as he makes his election of execution method,

and only after said person or persons have also agreed to the terms of this Confidentiality

Agreement.

       c. Control of Documents. Receiving Parties recognize and agree that they will not be

provided copies of SCDC’s execution protocols, but will be allowed to make notes relating to the

review of the execution protocols, but only for use in advising Richard Bernard Moore as he makes

his election of execution methods. Under no circumstances will any notes made by a Receiving

Party be shared with anyone other than Richard Bernard Moore and/or other members of Richard

Bernard Moore’s legal defense team, and only for the purposes of advising Richard Bernard Moore

as he makes his election of execution method.



                                                 2
     3:21-cv-00278-RBH          Date Filed 01/28/21     Entry Number 1-4        Page 4 of 5




       3.      Treatment on Conclusion of advising Richard Bernard Moore as he makes his
               election of execution method

       a. Agreement Remains in Effect. All provisions of this Agreement restricting the use of

Confidential Information shall continue to be binding after Richard Bernard Moore makes his

election of execution method.

       4.      Breach of Agreement; Injunctive Relief.

       Receiving Parties agree that any breach of this Agreement by any Receiving Party will

cause irreparable harm to SCDC, its employees, and any potential member of the execution team

for the execution of Richard Bernard Moore, that cannot be adequately compensated with money

damages. Accordingly, SCDC shall be entitled to injunctive relief to enforce this Agreement, in

addition to damages and other available remedies, to include, but not be limited to, reasonable

attorneys’ fees. In the event SCDC is required to enforce the terms of this Agreement in order to

remedy or prevent any breach of this Agreement, the Receiving Party shall, in addition to any other

damages for which it is responsible hereunder, pay and reimburse to SCDC the reasonable

attorneys’ fees and costs of SCDC associated with such enforcement.

       6.      Miscellaneous.

       This Agreement, and the rights and responsibilities hereunder:

       (a) may be amended by a document signed by SCDC and Receiving Parties; (b) may not

be assigned without the prior written consent of the other parties; and (c) may be executed in

several counterparts. The failure of SCDC to seek a remedy for the breach of any portion of this

Agreement shall not constitute a waiver of its right with respect to same or any subsequent breach.

If any provisions of this Agreement shall be held unenforceable, such holding shall not affect the

enforceability of any other provision of this Agreement.




                                                3
     3:21-cv-00278-RBH          Date Filed 01/28/21   Entry Number 1-4   Page 5 of 5




       7.      Persons Bound.

       This Agreement shall take effect when signed and shall be binding upon the Receiving

Parties and/or their representatives.



I SO STIPULATE AND AGREE:



______________________________________                   Dated: _______________________



Witnessed:



_____________________________________                    Dated: _______________________




                                              4
